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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

     UNITED STATES OF AMERICA §
                                                  § No. 6:20-CR-97-08
     v                 §
                               § JUDGES JCB/JDL
     CHRISTOPHER DALE CROMWELL §
     (08)

                                        FACTUAL BASIS

            Investigation by the Bureau of Alcohol, Tobacco, Firearms, and Explosives

   (BATFE), Drug Enforcement Administration (DEA), Texas Department of Public Safety,

   and the Gregg County Sheriffs Office disclosed the following facts that establish that I,

   the defendant, Christopher Dale Cromwell, committed the conduct described in Count

   1 of the indictment, which charges a violation of 21 U.S.C. § 846 (conspiracy to

   distribute and to possess with intent to distribute methamphetamine). 1 agree that the

   following factual basis is true and correct:

            1. Beginning in or about September 2019,1 knowingly and intentionally

  combined, conspired, confederated, and agreed with others, including co-defendants in

  this case, to distribute methamphetamine. It was the objective of the conspiracy to earn a

  profit by possessing with the intent to distribute and distributing at least 50 grams or

  more of actual methamphetamine or 500 grams or more of a mixture or substance

  containing a detectable ount of methamphetamine. Within the conspiracy, I served as

  a transporter of bulk methamphetamine for high-volume traffickers and as a distributor of



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   methamphetamine to street-level dealers, receiving the drugs from my supplier and then

   selling them to others for profit. 1 knew that those others whom 1 supplied would further

   distribute the methamphetamine before it was purchased by end users. I stipulate that:

   (1)1 was personally responsible for the distribution of at least 50 grams of actual

   methamphetamine, (2) my co-conspirators and I distributed at least that amount during

   my involvement in the conspiracy, and (3) such distribution was part of the jointly

   undertaken activities of the conspiracy.

           2. 1 had agreed with my co-conspirators, including my co-defendants in this

   case, to violate federal drug laws by facilitating the purchase and distribution of

   methamphetamine in the Longview, Texas areas, which are in the Eastern District of

   Texas. I knew that the objective of the conspiracy was to distribute methamphetamine,

   and I knowingly involved myself in the conspiracy. My co-conspirators and I were

   interdependent upon each other to achieve our objectives of purchasing and distributing

   methamphetamine.

           3. On March 28, 2019,1 distributed 6.55 grams of a mixture or substance

   containing a detectable amount of methamphetamine to a person I now know was

   working for law enforcement as a confidential informant. On May 14, 2019,1 distributed

   5.840 grams of ice methampheta ine to a person I now know was working for law

  enforcement as a confidential informant. On May 24, 2019,1 distributed 12.142 grams of

   ice methamphetamine to a person I now know was working for law enforcement as a

  confidential informant. On November 20, 2019,1 distributed 1.498 grams of “ice



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   methamphetamine to a person I now know was working for law enforcement as a

   confidential informant. I stipulate that each of these transactions was pursuant to my

   participation in the conspiracy charged in Count 1 of the indictment.

           4. I am pleading guilty to Count 1 in this case because I am guilty of the

   violation alleged. 1 have had an opportunity to consult with an attorney and 1 am satisfied

   with the advice and counsel provided to me. I acknowledge that these acts violated 21

   U.S.C. § 846. I hereby stipulate that the facts described above are true and correct, and I

   accept them as the uncontested facts of this case.

           5. I stipulate and agree to forfeit any and all interest I may have in the

   following property to the United States because the property constitutes contraband,

   instrumentalities of my offenses, or proceeds traceable to the illegal activity described in

   the indictment or was used or intended for use to facilitate the offense described in the

   indictment:

           a. a money judgment in the amount of $5,000.00, which represents proceeds

           obtained by me as a result of the offense alleged in Count 1 of the indictment and

           relevant conduct, for which I am personally liable.




          Dated: 5 f t :
            1 CHR STOPHER DALE CROMWELL
                                                    Defendant




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           I have reviewed this Factual Basis with the defendant. Based on these discussions,

   1 am satisfied that he understands the terms and effect of the Factual Basis and that he has

   signed it voluntarily.



           Dated:          / , ,
                                                    CHARLES VAN CLEER
                                                    Attorney forDefc xtehf




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